116 F.3d 487
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Salomon MARQUEZ-CARBAJAL, Defendant-Appellant.
    No. 96-30275.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 17, 1997**Decided June 20, 1997.
    
      Appeal from the United States District Court for the District of Montana, No. CR-96-00009-01-CCL;  Charles C. Lovell, District Judge, Presiding.
      Before:  GOODWIN, SCHROEDER and TASHIMA, Circuit Judges.
      MEMORANDUM*
      In accordance with United States v. Fuentes-Barahona, 111 F.3d 651 (9th Cir.1997), we vacate Salomon Marquez-Carbajal's sentence and remand for resentencing.
      VACATED AND REMANDED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    